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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF MINNESOTA


Willis Electric Co., Ltd.,                                                   Civil Case No. _________

                                   Plaintiff,
v.                                                                       JURY TRIAL DEMANDED


Polygroup Limited (Macao Commercial
Offshore), Polygroup Macau Limited (BVI),
Polytree (H.K.) Co. Ltd.,

                                   Defendant.


                           COMPLAINT FOR PATENT INFRINGEMENT

        Plaintiff Willis Electric Co., Ltd., (“Willis Electric”) for its complaint alleges as follows:

                              JURISDICTION, VENUE AND JOINDER

        1.          This is an action for patent infringement arising under the patent laws of the

United States, more particularly 35 U.S.C. §§ 271 and 281.

        2.          This Court has subject matter jurisdiction pursuant to 28 U.S. C. §§ 1331 and

1338(a).

        3.          Venue is proper in this District under 28 U.S.C. §§ 1391(c) and 1400(b).

        4.          Joinder is proper under 35 U.S.C. § 299. Defendants are related business entities

and/or affiliates. The allegations of infringement contained herein arise out of the same series of

occurrences relating to the manufacture, use, import, sales and/or offering for sale of lighted

artificial trees.

        5.          Questions of fact relating to the infringement are common to all Defendants.




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                  THE PARTIES AND BACKGROUND TO THE DISPUTE

        6.      Willis Electric is a company formed under the laws of the Republic of China.

Willis Electric is a Taiwanese company with a principal place of business located at 8F, No. 310,

Sec. 4, Zhongxiao E. Rd., Taipei 10694 Taiwan.

        7.      Upon information and belief, Polygroup Limited (Macao Commercial Offshore)

(“Polygroup”) is a company formed under the laws of the Macau Special Administration Region

of the Peoples Republic of China with its principal place of business at Avenida Xian Xing Hai,

Edificio Zhu 11, Andar M. Macau, Macau, China. Upon information and belief, Polygroup does

business in the State of Minnesota and in this District, both generally and specifically, by

offering to sell, selling, importing, and distributing lighted artificial trees containing patented

Willis Electric inventions that are the subject of this action.

        8.      Upon information and belief, Polygroup Macau Limited (BVI) (“Polygroup

BVI”), is a British Virgin Islands company with its principal place of business at Offshore

Incorporations Centre, P.O. Box 957, Road Town, Tortola, British Virgin Islands. Upon

information and belief, Polygroup BVI does business in the state of Minnesota, both generally

and specifically, by offering to sell, selling, importing, and distributing lighted artificial trees

containing patented Willis Electric inventions that are the subject of this action.

        9.      Upon information and belief, Polytree (H.K.) Co. Ltd. (“Polytree”) is a company

formed under the laws of the Hong Kong Special Administration Region of the Peoples Republic

of China with a principal place of business at Rm 1406-08 14/F Austin Twr, Tsim Sha Tsui,

Kowloon, Hong Kong, China. Upon information and belief, Polytree does business in the State

of Minnesota and in this District, both generally and specifically, by offering to sell, selling,

importing, and distributing lighted artificial trees containing patented Willis Electric inventions



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that are the subject of this action. Polygroup, Polygroup BVI and Polytree are hereinafter

referred to collectively as the “Polygroup defendants.”

        10.       The Polygroup defendants enjoy a dominant position in the United States market

for lighted artificial trees, with annual gross sales substantially greater than Willis Electric’s sales

in that market.

        11.       Formed in 1969, Willis Electric is a family-owned business currently headed by

Johnny Chen.

        12.       In addition to lighted artificial trees, Willis Electric sells a variety of products to

customers in the United States and other countries. Willis Electric’s business has grown from its

development of patented, new-generation improvements to lighted artificial trees.

        13.       Johnny Chen is an inventor and the President of Willis Electric. Mr. Chen

perceived a benefit to consumers in providing lighted artificial trees with easy-to-assemble,

modular trunk sections. After significant development effort, Mr. Chen began selling Willis

Electric’s modular lighted trees to the retail market in the fall of 2012.

        14.       Johnny Chen applied for, and ultimately was granted, United States Patent

number 8,454,186 (“the ’186 patent”). The ’186 patent improves upon earlier lighted artificial

tree designs, including by minimizing the handling of trunk sections and thereby facilitating easy

assembly. Further, the ’186 patent describes a modular, lighted artificial tree with trunk sections

that couple reliably about a central, vertical axis. These mechanical connections facilitate

electrical connection throughout the tree, powering light strings distributed over a plurality of

branches on the trunk sections. A copy of the ’186 patent is attached to this complaint as Exhibit

A. Johnny Chen has assigned the ’186 patent to Willis Electric.




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        15.     Johnny Chen subsequently applied for and was granted United States Patent

number 8,454,187 (“the ’187 patent”), which also relates to lighted artificial trees, with claims

more specifically described therein. A copy of the ’187 patent is attached to this complaint as

Exhibit B.

        16.     Johnny Chen has assigned the ’187 patent to Willis Electric.

        17.     Johnny Chen subsequently applied for and was granted United States Patent

number 8,936,379 (“the ’379 patent”), which also relates to lighted artificial trees, with claims

more specifically described therein. A copy of the ’379 patent is attached to this complaint as

Exhibit C.

        18.     Johnny Chen has assigned the ’379 patent to Willis Electric.

        19.     Johnny Chen subsequently applied for and was granted United States Patent

number 9,044,056 (“the ’056 patent”), which also relates to lighted artificial trees, with claims

more specifically described therein. A copy of the ’056 patent is attached to this complaint as

Exhibit D.

        20.     Johnny Chen has assigned the ’056 patent to Willis Electric.

        21.     Willis Electric manufactures and distributes lighted artificial trees protected by its

several patents through retail outlets throughout the United States, including retail outlets with

store locations in the state of Minnesota.

        22.     The Polygroup defendants offered to sell, have sold, have imported, have

distributed and continue to sell, import, and distribute lighted artificial trees that infringe the

Willis Electric patents.




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       23.     The Polygroup defendants distribute lighted artificial trees that infringe the Willis

Electric patents throughout the United States through retail channels, including through retail

outlets with store locations in the state of Minnesota.

       24.     Willis Electric, through its counsel, has written letters to the Polygroup

defendants demanding that the Polygroup defendants immediately cease and desist their

infringing activities and to contact Willis Electric to obtain appropriate licensing. The Polygroup

defendants have not replied and have continued to manufacture and distribute infringing lighted

artificial trees, including in Minnesota.

       25.     The Polygroup defendants have not negotiated to obtain a license and have

continued to infringe. In fact, certain of the Polygroup defendants filed petitions seeking inter

partes review of the ’186 and ’187 patents, alleging that these patents were wrongly granted in

view of alleged prior art. The Patent Office dismissed these petitions and denied institution of

trial after Willis Electric filed its Patent Owner Preliminary Responses, which pointed out

deficiencies in the petitions, including deficiencies in the alleged prior art. Since, the Polygroup

defendants have filed no further challenges to the ’186 and ’187 patents.

       26.     Other post-issue challenges to the ’186 and ’187 patents have been made and

subsequently dismissed by the Patent Office. These included anonymous challenges alleging

unpatentability of the ’186 and ’187 patents in ex parte reexaminations control nos. 90/020,073

and 90/020,074. Following these challenges the Patent Office confirmed all claims of the ’186

and ’187 patents as patentable. Currently, no post-issue proceeding against the ’186, ’187, ’379,

and ’056 patents are pending.




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                            COUNT I – PATENT INFRINGEMENT

       27.      Willis Electric realleges the allegations in the preceding paragraphs as if fully

restated in Count I of this Complaint.

       28.      Willis Electric is the assignee and owner of all right, title, and interest in United

States Patent Nos. 8,454,186 (“the ’186 patent”); 8,454,187 (“the ’187 patent”); 8,936,379 (“the

’379 patent”); and 9,044,056 (“the ’056 patent”).

       29.      Upon information and belief, Defendants have been and still are infringing, as

well as knowingly contributing to and inducing infringement of, one or more claims of the ’186,

’187, ’379, and ’056 patents by making, using, selling and/or offering to sell in the United States

lighted artificial trees containing features subject to the claims of the ’186, ’187, ’379, and ’056

patents.

       30.      Upon information and belief, Defendants’ infringement of the ’186, ’187, ’379,

and ’056 patents has been willful and deliberate, rendering this case “exceptional” within the

meaning of 35 U.S.C. § 285.

       31.      Willis Electric has been damaged by Defendants’ infringement of the ’186, ’187,

’379, and ’056 patents. Unless restrained and enjoined by this Court, Defendants will continue

to infringe the ’186, ’187, ’379, and ’056 patents resulting in substantial, continuing, and

irreparable damage to Willis Electric.

       32.      Willis Electric has complied with the notice requirements of 35 U.S.C. § 287(a)

with respect to the ’186, ’187, ’379, and ’056 patents.

                                  DEMAND FOR JUDGMENT

       WHEREFORE, Willis Electric demands judgment as follows:



       A. That the ’186, ’187, ’379, and ’056 patents be adjudged valid and enforceable;
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       B. That Defendants be adjudged to have willfully and deliberately infringed the ’186,

           ’187, ’379, and ’056 patents;

       C. That Defendants, their officers, agents, servants, employees, attorneys, and those

           persons in active concert or participation with them who receive actual notice of the

           order by personal service or otherwise, be preliminarily and permanently restrained

           and enjoined from further infringement of the ’186, ’187, ’379, ’056 patents;

       D. An accounting and an award of damages by virtue of Defendants’ infringement of the

           ’186, ’187, ’379, and ’056 patents;

       E. An award of treble damages because of Defendants’ willful infringement of the ’186,

           ’187, ’379, and ’056 patents, in accordance with 35 U.S.C. § 284;

       F. An assessment of prejudgment and post-judgment interest and costs against

           Defendants, together with an award of such interest and costs, all in accordance with

           35 U.S.C. § 284;

       G. That the present case be adjudged an “exceptional case” within the meaning of 35

           U.S.C. § 285 and reasonable attorneys’ fees be awarded to Willis Electric pursuant

           thereto; and

       H. An award of such other and further relief as this Court may deem just and proper.

                                   JURY TRIAL DEMANDED

       Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure and the Seventh

Amendment to the Constitution of the United States, Willis Electric hereby demands a trial by

jury on all issues triable in the above action.




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